64 F.3d 656
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Anthony CROWELL, Petitioner-Appellant,v.Tom UDALL, Attorney General of the State of New Mexico;James S. Gilmore, III, Attorney General of theCommonwealth of Virginia, Respondents-Appellees.Anthony CROWELL, Petitioner-Appellant,v.Tom UDALL, Attorney General of the State of New Mexico;James S. Gilmore, III, Attorney General of theCommonwealth of Virginia, Respondents-Appellees.
    Nos. 95-6812, 95-6858.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1995.Decided Aug. 21, 1995.
    
      Anthony Crowell, Appellant Pro Se.  Patricia Gandert, Santa Fe, NM;  Mary Elizabeth Shea, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, VA, for Appellees.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeals on the reasoning of the district court.  Crowell v. Udall, No. CA-94-956-CV-2 (E.D.Va. May 9, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    